                                             Case 3:19-bk-01248-JAF
 Fill in this information to identify your case and this filing:
                                                                                                        Doc 9             Filed 04/16/19                      Page 1 of 48

  Debtor 1                          Carolyn                      Marie                      Money
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                            Middle District of Florida
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                3:19-bk-01248                                                                                                                             amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     3752 Anderson St.                                               What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Jacksonville, FL 32205                                         ❑ Land                                                                                  $209,000.00                    $209,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Duval
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Homestead
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Source of Value:
                                                                             debtor
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $209,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1                  Carolyn          Case 3:19-bk-01248-JAF
                                                 Marie         Money Doc 9                                                 Filed 04/16/19                      Page
                                                                                                                                                              Case    2 of
                                                                                                                                                                   number      48 3:19-bk-01248
                                                                                                                                                                          (if known)
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ✔ No
       ❑
       ❑ Yes

 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................              ➜                  $0.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                Current value of the
                                                                                                                                                                                   portion you own?
                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                   claims or exemptions.

 6.   Household goods and furnishings
      Examples:         Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Household Goods
                                                                                                                                                                                                  $1,000.00

 7.   Electronics
      Examples:         Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               1 old TV                                                                                                                                            $100.00


 8.   Collectibles of value
      Examples:         Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Misc Antique furniture                                                                                                                              $500.00


 9.   Equipment for sports and hobbies
      Examples:         Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments
      ✔ No
      ❑
      ❑ Yes. Describe........
 10. Firearms
      Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
      ✔ No
      ❑
      ❑ Yes. Describe........




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                 page 2
 Debtor 1                     Carolyn            Case 3:19-bk-01248-JAF
                                                      Marie         Money Doc 9                                                              Filed 04/16/19                         Page
                                                                                                                                                                                   Case    3 of
                                                                                                                                                                                        number      48 3:19-bk-01248
                                                                                                                                                                                               (if known)
                              First Name                         Middle Name                            Last Name



 11.   Clothes
       Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     Wearing apparel                                                                                                                                                   $200.00



 12.   Jewelry
       Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
       ✔ No
       ❑
       ❑ Yes. Describe........


 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     3 Akita dogs                                                                                                                                                        $1.00



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                  $1,801.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                121 Financial C/U                                                                                                                   $400.00


 17.2. Checking account:


 17.3. Savings account:                                 121 Financial C/U                                                                                                                     $0.00


Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                      page 3
 Debtor 1                 Carolyn      Case 3:19-bk-01248-JAF
                                            Marie         Money Doc 9                           Filed 04/16/19              Page
                                                                                                                           Case    4 of
                                                                                                                                number      48 3:19-bk-01248
                                                                                                                                       (if known)
                          First Name            Middle Name              Last Name



 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ❑ No
       ✔ Yes.....................
       ❑
 Issuer name and description:

 Allstate- Cashed out for living expenses 2/2019 | Annuity                                                                              $0.00




Official Form 106A/B                                                               Schedule A/B: Property                                                  page 4
 Debtor 1                 Carolyn      Case 3:19-bk-01248-JAF
                                            Marie         Money Doc 9                          Filed 04/16/19            Page
                                                                                                                        Case    5 of
                                                                                                                             number      48 3:19-bk-01248
                                                                                                                                    (if known)
                          First Name              Middle Name           Last Name



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                   Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.      Give specific information about                                                                        Federal:
                   them, including whether you
                   already filed the returns and the                                                                      State:
                   tax years.......................
                                                                                                                          Local:



 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.      Give specific information..........
                                                                                                                          Alimony:

                                                                                                                          Maintenance:

                                                                                                                          Support:

                                                                                                                          Divorce settlement:

                                                                                                                          Property settlement:




Official Form 106A/B                                                              Schedule A/B: Property                                                    page 5
 Debtor 1                   Carolyn          Case 3:19-bk-01248-JAF
                                                  Marie         Money Doc 9                                                   Filed 04/16/19                       Page
                                                                                                                                                                  Case    6 of
                                                                                                                                                                       number      48 3:19-bk-01248
                                                                                                                                                                              (if known)
                           First Name                      Middle Name                       Last Name



 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.       Name the insurance company
                                                                           Company name:                                                             Beneficiary:                     Surrender or refund value:
                    of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                           $400.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 6
 Debtor 1                   Carolyn          Case 3:19-bk-01248-JAF
                                                  Marie         Money Doc 9                                                   Filed 04/16/19                       Page
                                                                                                                                                                  Case    7 of
                                                                                                                                                                       number      48 3:19-bk-01248
                                                                                                                                                                              (if known)
                           First Name                      Middle Name                       Last Name



 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                             $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                        Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                  page 7
 Debtor 1                    Carolyn          Case 3:19-bk-01248-JAF
                                                   Marie         Money Doc 9                                                       Filed 04/16/19                         Page
                                                                                                                                                                         Case    8 of
                                                                                                                                                                              number      48 3:19-bk-01248
                                                                                                                                                                                     (if known)
                            First Name                       Middle Name                          Last Name



 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                 $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                     $209,000.00


 56.   Part 2: Total vehicles, line 5                                                                                                $0.00


 57.   Part 3: Total personal and household items, line 15                                                                     $1,801.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                   page 8
 Debtor 1                 Carolyn         Case 3:19-bk-01248-JAF
                                               Marie         Money Doc 9                                               Filed 04/16/19                     Page
                                                                                                                                                         Case    9 of
                                                                                                                                                              number      48 3:19-bk-01248
                                                                                                                                                                     (if known)
                          First Name                    Middle Name                     Last Name



 58.   Part 4: Total financial assets, line 36                                                                       $400.00


 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                              $2,201.00          Copy personal property total➜      +            $2,201.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                   $211,201.00




Official Form 106A/B                                                                                 Schedule A/B: Property                                                              page 9
                                    Case 3:19-bk-01248-JAF                      Doc 9         Filed 04/16/19                Page 10 of 48
 Fill in this information to identify your case:

  Debtor 1                    Carolyn                Marie              Money
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        3:19-bk-01248                                                                                      ❑     Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                           04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 3752 Anderson St. Jacksonville, FL 32205                                $209,000.00
                                                                                         ❑                $209,000.00              Fla. Const. art. X § 4(a)(1); Fla. Stat.
                                                                                         ❑    100% of fair market value, up to     Ann. §§ 222.01, .02
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
  Household Goods                                                           $1,000.00
                                                                                         ❑                  $500.00                Fla. Const. art. X, § 4(a)(2)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           6


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
         ✔ No
         ❑
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
 Debtor 1             Carolyn      Case 3:19-bk-01248-JAF
                                         Marie         Money Doc 9                     Filed 04/16/19             Page
                                                                                                                  Case    11 (ifofknown)
                                                                                                                       number       48 3:19-bk-01248
                      First Name           Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on           Current value of the      Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                   portion you own
                                                         Copy the value from       Check only one box for each exemption.
                                                         Schedule A/B

                                                                                   ✔
 Brief description:
 Misc Antique furniture                                                 $500.00
                                                                                   ❑                 $500.00                 Fla. Const. art. X, § 4(a)(2)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         8


                                                                                   ✔
 Brief description:
 Allstate- Cashed out for living expenses 2/2019                           $0.00
                                                                                   ❑                  $0.00                  Fla. Stat. Ann. § 222.14
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        23




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
                                       Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                       Doc 9           Filed 04/16/19              Page 12 of 48

  Debtor 1                       Carolyn                 Marie                Money
                                 First Name          Middle Name             Last Name

  Debtor 2
  (Spouse, if filing)            First Name          Middle Name             Last Name

  United States Bankruptcy Court for the:                                Middle District of Florida

  Case number                           3:19-bk-01248                                                                                                  ❑    Check if this is an
  (if known)                                                                                                                                                amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for           Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much          Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                               Do not deduct the      that supports         portion
                                                                                                                           value of collateral.   this claim            If any
 2.1 Select Portfolio Servicing, Inc                        Describe the property that secures the claim:                         $116,080.00           $209,000.00                 $0.00
        Creditor's Name
                                                             3752 Anderson St. Jacksonville, FL 32205
         Attn: Bankruptcy
         PO Box 65250
        Number          Street
                                                            As of the date you file, the claim is: Check all that apply.

         Salt Lake City, UT 84165-0250                      ❑Contingent
        City                        State     ZIP Code      ❑Unliquidated
        Who owes the debt? Check one.                       ❑Disputed
        ✔ Debtor 1 only
        ❑                                                   Nature of lien. Check all that apply.
        ❑Debtor 2 only                                      ✔An agreement you made (such as mortgage or
                                                            ❑
        ❑Debtor 1 and Debtor 2 only                               secured car loan)
        ❑At least one of the debtors and another            ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑Check if this claim relates to a                   ❑Judgment lien from a lawsuit
           community debt
                                                            ❑Other (including a right to offset)
        Date debt was incurred
        9/1/2005                                            Last 4 digits of account number 8            3   4    3

         Add the dollar value of your entries in Column A on this page. Write that number here:                                          $116,080.00




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
 Debtor 1                Carolyn      Case 3:19-bk-01248-JAF
                                            Marie         Money Doc 9                            Filed 04/16/19              Page
                                                                                                                             Case    13 (ifofknown)
                                                                                                                                  number       48 3:19-bk-01248
                         First Name           Middle Name              Last Name


                                                                                                                     Column A                Column B              Column C
                Additional Page
                                                                                                                     Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                   Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                  value of collateral.    this claim            If any



 2.2                                                  Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                      As of the date you file, the claim is: Check all that apply.

       City                        State   ZIP Code   ❑Contingent
       Who owes the debt? Check one.                  ❑Unliquidated
       ❑Debtor 1 only                                 ❑Disputed
       ❑Debtor 2 only                                 Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another          secured car loan)

       ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                              ❑Judgment lien from a lawsuit
       Date debt was incurred                         ❑Other (including a right to offset)
                                                      Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                               $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $116,080.00
       here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                               Doc 9         Filed 04/16/19                 Page 14 of 48

  Debtor 1                   Carolyn                 Marie             Money
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        3:19-bk-01248                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State     ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
 Debtor 1              Carolyn      Case 3:19-bk-01248-JAF
                                          Marie         Money Doc 9                            Filed 04/16/19              Page
                                                                                                                           Case    15 (ifofknown)
                                                                                                                                number       48 3:19-bk-01248
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Ally Financial                                                            Last 4 digits of account number 3198                                               $14,158.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          02/01/2016
        Attn: Bankruptcy Dept
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 380901                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street
        Bloomington, MN 55438
        City                              State     ZIP Code
                                                                                  ✔ Disputed
                                                                                  ❑
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
        Remarks: Paid by insurance
4.1     American Express Trs                                                      Last 4 digits of account number 6093                                                $9,520.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          03/01/2017
        Attn: Bankruptcy Department
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 297871                                                             ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Fort Lauderdale, FL 33329
        City                              State     ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Unsecured
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 7
                                    Case 3:19-bk-01248-JAF                  Doc 9        Filed 04/16/19              Page 16 of 48
 Debtor 1              Carolyn                Marie                 Money                                            Case number (if known) 3:19-bk-01248
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.2     Amex                                                                Last 4 digits of account number 1263                                            $1,486.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          01/01/2016
        Correspondence/Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 981540
       Number           Street
                                                                            ❑   Contingent

        El Paso, TX 79998-1540
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
                                                                                CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.3     Capital One                                                         Last 4 digits of account number 1543                                            $8,048.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          08/01/2015
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number           Street
                                                                            ❑   Contingent

        Salt Lake City, UT 84130-0285
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
                                                                                CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.4     Chase Card Services                                                 Last 4 digits of account number 8012                                            $1,358.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/01/2016
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 15298
       Number           Street
                                                                            ❑   Contingent

        Wilmington, DE 19850
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
                                                                                CreditCard
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 7
                                    Case 3:19-bk-01248-JAF                  Doc 9        Filed 04/16/19              Page 17 of 48
 Debtor 1              Carolyn                Marie                 Money                                            Case number (if known) 3:19-bk-01248
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.5     Comenity Bank/Bealls Florida                                        Last 4 digits of account number 1903                                              $145.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          07/01/2016
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 182125
       Number           Street
                                                                            ❑   Contingent

        Columbus, OH 43218
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
                                                                                ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.6     Discover Financial                                                  Last 4 digits of account number 4739                                         $11,151.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          03/01/2016
        PO Box 3025
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        New Albany, OH 43054-3025
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                CreditCard

       ❑      Yes
4.7     Synchrony Bank/Amazon                                               Last 4 digits of account number 4407                                              $843.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          01/01/2018
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
                                                                                ChargeAccount
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 7
                                    Case 3:19-bk-01248-JAF                  Doc 9        Filed 04/16/19              Page 18 of 48
 Debtor 1              Carolyn                Marie                 Money                                            Case number (if known) 3:19-bk-01248
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.8     Synchrony Bank/PayPal Cr                                                                                                                              $500.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Attn: Bankruptcy Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street                                              ❑   Contingent
        Orlando, FL 32896                                                   ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Credit Card
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5 of 7
                                    Case 3:19-bk-01248-JAF                   Doc 9        Filed 04/16/19             Page 19 of 48
 Debtor 1              Carolyn             Marie                   Money                                             Case number (if known) 3:19-bk-01248
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Duval County Court                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        500 W. Adams St.                                              Line   4.6   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Jacksonville, FL 32202
       City                                  State      ZIP Code      Last 4 digits of account number -519

        Zwicker & Associates                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        10751 Deerwood Park Blvd. 100                                 Line   4.6   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Jacksonville, FL 32256
       City                                  State      ZIP Code      Last 4 digits of account number

        Pollack and Rosen, PA                                         On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        806 Douglas Rd. Suite 200                                     Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Miami, FL 33134
       City                                  State      ZIP Code      Last 4 digits of account number

        Duval County Court                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        500 W. Adams St.                                              Line   4.3   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Jacksonville, FL 32202
       City                                  State      ZIP Code      Last 4 digits of account number

                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 6 of 7
                                    Case 3:19-bk-01248-JAF                  Doc 9      Filed 04/16/19          Page 20 of 48
 Debtor 1              Carolyn              Marie                  Money                                       Case number (if known) 3:19-bk-01248
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.    +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $47,209.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $47,209.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 7
                                      Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                 Doc 9        Filed 04/16/19              Page 21 of 48

     Debtor 1                   Carolyn                Marie            Money
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                        Middle District of Florida

     Case number                       3:19-bk-01248                                                                                         ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                                        Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                     Doc 9        Filed 04/16/19         Page 22 of 48

  Debtor 1                        Carolyn                 Marie              Money
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Middle District of Florida

  Case number                           3:19-bk-01248                                                                                       ❑     Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                             page 1 of 1
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                              Doc 9         Filed 04/16/19               Page 23 of 48

  Debtor 1                   Carolyn                 Marie            Money
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Middle District of Florida                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                        3:19-bk-01248                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                   ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                  PRN
     employers.
                                               Employer's name             Shands Jacksonville Med Center
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address          655 W. 8th St.
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                           Jacksonville, FL 32209
                                                                            City                     State    Zip Code         City                    State      Zip Code
                                               How long employed there? 31 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $1,511.03                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +              $0.00      +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $1,511.03                      $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
 Debtor 1                   Carolyn         Case 3:19-bk-01248-JAF
                                                  Marie         Money Doc 9                                            Filed 04/16/19          Page
                                                                                                                                               Case    24 (ifofknown)
                                                                                                                                                    number       48 3:19-bk-01248
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $1,511.03                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $244.03                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: Other Involuntary deduction                                                       5h.
                                                                                                                             +           $14.99        +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $259.03                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $1,252.01                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $1,713.00                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,713.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,965.01   +                $0.00        =       $2,965.01

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $2,965.01
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                      Doc 9     Filed 04/16/19           Page 25 of 48

  Debtor 1                   Carolyn                  Marie                  Money
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Middle District of Florida

  Case number                        3:19-bk-01248                                                                     MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                          ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
                                                                                                                                                  ❑No.     ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                        $903.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                        $75.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1              Carolyn      Case 3:19-bk-01248-JAF
                                          Marie         Money Doc 9                       Filed 04/16/19     Page
                                                                                                             Case    26 (ifofknown)
                                                                                                                  number       48 3:19-bk-01248
                       First Name             Middle Name               Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                        $0.00

       6b. Water, sewer, garbage collection                                                                        6b.                      $175.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                      $230.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                       $550.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                        $30.00

 10. Personal care products and services                                                                           10.                       $30.00

 11.   Medical and dental expenses                                                                                 11.                      $300.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                      $210.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $70.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
                                                                                                                   15b.                       $0.00
       15b. Health insurance
                                                                                                                   15c.                       $0.00
       15c. Vehicle insurance
                                                                                                                   15d.                       $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00

       20b. Real estate taxes                                                                                      20b.                       $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                             page 2
 Debtor 1              Carolyn      Case 3:19-bk-01248-JAF
                                          Marie         Money Doc 9                          Filed 04/16/19   Page
                                                                                                              Case    27 (ifofknown)
                                                                                                                   number       48 3:19-bk-01248
                       First Name           Middle Name              Last Name



 21. Other. Specify:                     See Additional Page                                                        21.    +                $205.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                  22a.                  $2,778.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.                      $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.                  $2,778.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.                  $2,965.01

      23b. Copy your monthly expenses from line 22c above.                                                          23b.   –               $2,778.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                    23c.                    $187.01
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                               page 3
 Debtor 1              Carolyn      Case 3:19-bk-01248-JAF
                                          Marie         Money Doc 9       Filed 04/16/19   Page
                                                                                           Case    28 (ifofknown)
                                                                                                number       48 3:19-bk-01248
                       First Name         Middle Name   Last Name




                                                                                                                                Amount


   21. Other
       pet care/food                                                                                                             $130.00
       yard maintenance                                                                                                           $65.00
       pest control                                                                                                               $10.00




Official Form 106J                                       Schedule J: Your Expenses                                                   page 4
                                           Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                                        Doc 9             Filed 04/16/19                       Page 29 of 48

  Debtor 1                         Carolyn                        Marie                      Money
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                             Middle District of Florida

  Case number                               3:19-bk-01248                                                                                                                           ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $209,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                                 $2,201.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                         $211,201.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $116,080.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $47,209.00


                                                                                                                                                                  Your total liabilities                    $163,289.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $2,965.01


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $2,778.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
 Debtor 1             Carolyn      Case 3:19-bk-01248-JAF
                                         Marie         Money Doc 9                           Filed 04/16/19               Page
                                                                                                                          Case    30 (ifofknown)
                                                                                                                               number       48 3:19-bk-01248
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                        $1,277.14




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 2 of 2
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                             Doc 9        Filed 04/16/19             Page 31 of 48

  Debtor 1                   Carolyn                 Marie           Money
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Middle District of Florida

  Case number                        3:19-bk-01248                                                                                      ❑    Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Carolyn Marie Money
        Carolyn Marie Money, Debtor 1                                   ✘
        Date 04/16/2019                                                     Date
                MM/ DD/ YYYY                                                       MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                                     Case 3:19-bk-01248-JAF                         Doc 9         Filed 04/16/19         Page 32 of 48
 Fill in this information to identify your case:

  Debtor 1                   Carolyn                 Marie              Money
                             First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                           Middle District of Florida

  Case number                        3:19-bk-01248                                                                                     ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                             04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                           Dates Debtor 2 lived
                                                              there                                                                          there


                                                                                        ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                          From
    Number      Street                                                                     Number     Street
                                                             To                                                                            To



    City                               State ZIP Code                                      City                       State ZIP Code




                                                                                        ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                          From
    Number      Street                                                                     Number     Street
                                                             To                                                                            To



    City                               State ZIP Code                                      City                       State ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                                  Case 3:19-bk-01248-JAF                         Doc 9         Filed 04/16/19              Page 33 of 48

Debtor 1            Carolyn              Marie                    Money                                               Case number (if known) 3:19-bk-01248
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                          $4,097.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $18,577.00            bonuses, tips
    (January 1 to December 31, 2018         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $17,836.00            bonuses, tips
    (January 1 to December 31, 2017         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Social Security                             $5,139.00
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                                  Case 3:19-bk-01248-JAF                           Doc 9         Filed 04/16/19                Page 34 of 48

Debtor 1            Carolyn                 Marie                  Money                                                  Case number (if known) 3:19-bk-01248
                    First Name              Middle Name             Last Name


    For last calendar year:                           Social Security                            $21,600.00
    (January 1 to December 31, 2018          )
                                     YYYY




    For the calendar year before that:                Social Security                            $21,180.00
    (January 1 to December 31, 2017          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                              Dates of             Total amount paid            Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                   State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 3
                                    Case 3:19-bk-01248-JAF                         Doc 9         Filed 04/16/19               Page 35 of 48

Debtor 1            Carolyn               Marie                    Money                                                 Case number (if known) 3:19-bk-01248
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case


                                                                                                                                                 ✔Pending
                                                    Money due
    Case title       Discover v. Money                                                          Duval County Court                               ❑
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
    Case number 19-cc-519
                                                                                                                                                 ❑Concluded
                                                                                                500 W. Adams St.
                                                                                               Number       Street
                                                                                                Jacksonville, FL 32202
                                                                                               City                       State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
                                   Case 3:19-bk-01248-JAF                          Doc 9        Filed 04/16/19                Page 36 of 48

Debtor 1            Carolyn                  Marie                   Money                                               Case number (if known) 3:19-bk-01248
                    First Name               Middle Name              Last Name

                                                        Nature of the case                      Court or agency                                 Status of the case


                                                                                                                                               ✔Pending
                                                        Money Due
    Case title        Capital one v. Money                                                      Duval County Court                             ❑
                                                                                                                                               ❑On appeal
                                                                                               Court Name
    Case number 19-cc-4248
                                                                                                                                               ❑Concluded
                                                                                                500 W. Adams St.
                                                                                               Number       Street
                                                                                                Jacksonville, FL 32202
                                                                                               City                       State    ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                      Describe the property                                    Date              Value of the property



    Creditor’s Name


    Number       Street                                               Explain what happened

                                                                     ❑Property was repossessed.
                                                                     ❑Property was foreclosed.
                                                                     ❑Property was garnished.
    City                          State      ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                              Describe the action the creditor took                          Date action was   Amount
                                                                                                                             taken
    Creditor’s Name


    Number       Street



    City                         State       ZIP Code
                                                             Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5
                                    Case 3:19-bk-01248-JAF                        Doc 9        Filed 04/16/19             Page 37 of 48

Debtor 1             Carolyn                Marie                   Money                                           Case number (if known) 3:19-bk-01248
                     First Name             Middle Name             Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave    Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that       Describe what you contributed                                  Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ❑No
    ✔Yes. Fill in the details.
    ❑




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
                                   Case 3:19-bk-01248-JAF                       Doc 9         Filed 04/16/19            Page 38 of 48

Debtor 1            Carolyn             Marie                       Money                                        Case number (if known) 3:19-bk-01248
                    First Name          Middle Name                 Last Name

     Describe the property you lost and        Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                     Include the amount that insurance has paid. List pending
                                               insurance claims on line 33 of Schedule A/B: Property.
    2013 Chrysler Town and Country.           paid in full by insurance
    Totaled in car accident                                                                                    2018                              $5,000.00




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred              Date payment or      Amount of payment
     gahanian law                                                                                               transfer was made
    Person Who Was Paid                         1000
                                                                                                               3/2019                            $1,000.00
     3840-1 Williamsburg Park Blvd.
    Number     Street




     Jacksonville, FL 32257
    City                   State   ZIP Code


    Email or website address
     Debtor
    Person Who Made the Payment, if Not You


                                                 Description and value of any property transferred              Date payment or      Amount of payment
     Decaf                                                                                                      transfer was made
    Person Who Was Paid                         credit counseling
                                                                                                               3/2019                               $20.00
    Number     Street




     ,
    City                   State   ZIP Code


    Email or website address
     Gahanian Law, PA
    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
                                   Case 3:19-bk-01248-JAF                     Doc 9         Filed 04/16/19             Page 39 of 48

Debtor 1            Carolyn             Marie                   Money                                             Case number (if known) 3:19-bk-01248
                    First Name          Middle Name             Last Name

                                                Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of the property transferred                                            Date transfer was
                                                                                                                                             made


    Name of trust




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
                                    Case 3:19-bk-01248-JAF                     Doc 9          Filed 04/16/19              Page 40 of 48

Debtor 1            Carolyn              Marie                  Money                                             Case number (if known) 3:19-bk-01248
                    First Name           Middle Name            Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Last 4 digits of account number           Type of account or      Date account was           Last balance
                                                                                           instrument              closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

     All State
                                                                                                                    2/2019                          $2,703.17
                                                                                          ❑Checking
    Name of Financial Institution
                                                 XXXX–
                                                                                          ❑Savings
    Number       Street                                                                   ❑Money market
                                                                                          ❑Brokerage
                                                                                          ✔Other Annuity
                                                                                          ❑
     ,
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else had access to it?                      Describe the contents                        Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution                Name
                                                                                                                                             ❑Yes

    Number       Street                          Number     Street



                                                 City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 9
                                   Case 3:19-bk-01248-JAF                          Doc 9          Filed 04/16/19               Page 41 of 48

Debtor 1            Carolyn               Marie                    Money                                                 Case number (if known) 3:19-bk-01248
                    First Name            Middle Name               Last Name

                                                    Who else has or had access to it?                 Describe the contents                              Do you still have
                                                                                                                                                         it?

                                                                                                                                                       ❑No
    Name of Storage Facility                       Name
                                                                                                                                                       ❑Yes

    Number     Street                              Number      Street



                                                   City                   State    ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                            Describe the property                              Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                   State    ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 10
                                   Case 3:19-bk-01248-JAF                          Doc 9     Filed 04/16/19             Page 42 of 48

Debtor 1            Carolyn             Marie                     Money                                           Case number (if known) 3:19-bk-01248
                    First Name          Middle Name               Last Name

                                                 Governmental unit                         Environmental law, if you know it                 Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Governmental unit                         Environmental law, if you know it                 Date of notice


    Name of site                                Governmental unit



    Number       Street                         Number       Street


                                                City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Court or agency                           Nature of the case                                Status of the case


    Case title
                                                Court Name
                                                                                                                                            ❑Pending
                                                                                                                                            ❑On appeal
                                                                                                                                            ❑Concluded
                                                Number       Street


    Case number
                                                City                  State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 11
                                     Case 3:19-bk-01248-JAF                          Doc 9          Filed 04/16/19              Page 43 of 48

Debtor 1             Carolyn                Marie                     Money                                                Case number (if known) 3:19-bk-01248
                     First Name             Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                       Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
                                Case 3:19-bk-01248-JAF                      Doc 9       Filed 04/16/19              Page 44 of 48

Debtor 1           Carolyn              Marie                  Money                                           Case number (if known) 3:19-bk-01248
                   First Name           Middle Name             Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                   /s/ Carolyn Marie Money                      ✘
       Signature of Carolyn Marie Money, Debtor 1                       Signature of


       Date 04/16/2019                                                  Date




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                              Doc 9           Filed 04/16/19         Page 45 of 48

  Debtor 1                   Carolyn                 Marie            Money
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        3:19-bk-01248                                                                                     ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                     ❑ No
    name:                 Select Portfolio Servicing, Inc
                                                                            ❑ Retain the property and redeem it.                          ✔ Yes
                                                                                                                                          ❑
    Description of        3752 Anderson St. Jacksonville, FL                ✔ Retain the property and enter into a
                                                                            ❑
    property              32205                                                    Reaffirmation Agreement.
    securing debt:
                                                                            ❑ Retain the property and [explain]:




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
 Debtor 1             Carolyn      Case 3:19-bk-01248-JAF
                                         Marie         Money Doc 9                      Filed 04/16/19            Page
                                                                                                                  Case    46 (ifofknown)
                                                                                                                       number       48 3:19-bk-01248
                      First Name          Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                    /s/ Carolyn Marie Money                      ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 04/16/2019                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
                                    Case 3:19-bk-01248-JAF
 Fill in this information to identify your case:
                                                                                Doc 9        Filed 04/16/19             Page
                                                                                                                      Check      47only
                                                                                                                            one box ofas48
                                                                                                                                         directed in this form and in Form
                                                                                                                      122A-1Supp:
  Debtor 1                   Carolyn
                             First Name
                                                     Marie
                                                   Middle Name
                                                                        Money
                                                                        Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                                                                                                            ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name          Last Name                                        abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                         Middle District of Florida

  Case number                        3:19-bk-01248
                                                                                                                      ❑3. The Means Test does not apply now because of
  (if known)
                                                                                                                         qualified military service but it could apply later.


                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      ❑
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A                Column B
                                                                                                                Debtor 1                Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                      $1,277.14
    payroll deductions).

 3. Alimony and maintenance payments if Column B is filled in. Do not include payments from a                               $0.00
    spouse.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.                                                                                          $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1          Debtor 2
                                                                              $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -
                                                                              $0.00                    Copy
      Net monthly income from a business, profession, or farm                                                               $0.00
                                                                                                       here →

 6. Net income from rental and other real property                       Debtor 1          Debtor 2
                                                                              $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                    -         $0.00   -
                                                                              $0.00                    Copy
      Net monthly income from rental or other real property                                                                 $0.00
                                                                                                       here →

       7. Interest, dividends, and royalties                                                                                $0.00


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1                     Carolyn          Case 3:19-bk-01248-JAF
                                                    Marie         Money Doc 9                                            Filed 04/16/19                   Page
                                                                                                                                                          Case    48 (ifofknown)
                                                                                                                                                               number       48 3:19-bk-01248
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                         $0.00
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................                   $1,689.50
           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                     $1,277.14                                 =       $1,277.14
       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                     +
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                    Total current
                                                                                                                                                                                                   monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →          $1,277.14

             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.         $15,325.68

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                   Florida

    Fill in the number of people in your household.                                    1

    Fill in the median family income for your state and size of household....................................................................................................           13.         $49,172.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Carolyn Marie Money                                                                                           X
             Signature of Debtor 1                                                                                             Signature of Debtor 2

            Date            04/16/2019                                                                                         Date
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.


Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
